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                          UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
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11   TRACY LASHAWN MATHIS,                    ) Case No.: 2:23-cv-06669-E
                                              )
12                Plaintiff,                     __________ ORDER AWARDING
                                              ) {PROPOSED}
                                              ) EQUAL ACCESS TO JUSTICE ACT
13         vs.                                ) ATTORNEY FEES AND EXPENSES
                                              ) PURSUANT TO 28 U.S.C. § 2412(d)
14   MARTIN O'MALLEY,                         ) AND COSTS PURSUANT TO 28
     Commissioner of Social Security,         ) U.S.C. § 1920
15                                            )
                  Defendant                   )
16                                            )
                                              )
17
18         Based upon the parties’ Stipulation for the Award and Payment of Equal
19   Access to Justice Act Fees, Costs, and Expenses:
20         IT IS ORDERED that fees and expenses in the amount of $6,650.00 as
21   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
22   awarded subject to the terms of the Stipulation.
23   DATE: 
24                              __________________________________
                               ___________________________________
                                HE HONORABLE CHARLES F.
                               THE                        F EICK
25                             UNITED STATES MAGISTRATE JUDGE
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